Case 3:24-cv-00195-WQH-BLM Document 10 Filed 02/29/24 PageID.119 Page 1 of 4




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  15 Attorneys for Plaintiff

  16
                            UNITED STATES DISTRICT COURT
  17
                         SOUTHERN DISTRICT OF CALIFORNIA
  18

  19 JOSEPH HIGGINBOTTOM,                          Case No. 3:24-cv-00195-WQH-BLM
     individually on behalf of heirs, and as
  20 Personal Representative of the ESTATE         PLAINTIFF’S NOTICE OF
     OF ANTHONY HIGGINBOTTOM,                      MOTION AND MOTION TO
  21
                   Plaintiff,                      REMAND TO SUPERIOR COURT
  22                                               OF SAN DIEGO, CALIFORNIA;
             v.                                    MEMORANDUM OF POINTS
  23
       DEXCOM, INC.;                               AND AUTHORITIES
  24 TANDEM DIABETES CARE, INC.;
       and DOES 1-50, inclusive,                   Hon. William Q. Hayes
  25
                   Defendants.                     Date: April 8, 2024
  26
                                                   NO ORAL ARGUMENT UNLESS
  27                                               REQUESTED BY THE COURT

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        PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND TO SUPERIOR COURT OF SAN DIEGO,
                        CALIFORNIA; MEMORANDUM OF POINTS AND AUTHORITIES
Case 3:24-cv-00195-WQH-BLM Document 10 Filed 02/29/24 PageID.120 Page 2 of 4




   1        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2        PLEASE TAKE NOTICE that on April 8, 2024, or as soon thereafter as
   3 counsel may be heard, before the Honorable Judge William Q. Hayes, in Courtroom

   4 14B of the United States District Court for the Southern District of California,

   5 located at 333 West Broadway, San Diego, California 92101, Plaintiff Joseph

   6 Higginbottom will and hereby does move this Court for an Order remanding this

   7 action to the Superior Court of San Diego, State of California.

   8        This motion is made pursuant to 28 USC § 1447 on the grounds that this
   9 Court does not have subject matter jurisdiction over this action.

  10        Pursuant to the Local Rules, the Court generally decides motions based on the
  11 papers submitted by the parties. If the Court decides that oral argument will assist it

  12 in deciding the motion, counsel will be notified telephonically at least three (3) court

  13 days before the scheduled hearing date.

  14        This Motion is based on this Notice, the attached Memorandum of Points and
  15 Authorities, the Declaration of Melisa A. Rosadini-Knott and exhibits thereto, all the

  16 documents and pleadings in the court file, and on such other and further oral and/or

  17 documentary evidence or argument that may be presented to the Court at or prior to

  18 the hearing on this matter.

  19 DATED: February 29, 2024

  20                                       By:         /s/ Melisa A. Rosadini-Knott
                                                 Melisa A. Rosadini-Knott
  21
                                                 PEIFFER       WOLF      CARR       KANE
  22                                             CONWAY & WISE, LLP
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                                                 Los Angeles, CA 90010
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                                                 2
       PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND TO SUPERIOR COURT OF SAN DIEGO,
                       CALIFORNIA; MEMORANDUM OF POINTS AND AUTHORITIES
Case 3:24-cv-00195-WQH-BLM Document 10 Filed 02/29/24 PageID.121 Page 3 of 4




   1 DATED: February 29, 2024

   2                                      By:         /s/ Robert M. Hammers
                                                Robert M. Hammers, Jr. (Pro hace vice
   3
                                                application forthcoming)
   4                                            HAMMERS LAW FIRM, LLC
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                                                Atlanta, Georgia 30342
   6                                            (770) 900-9000
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   8

   9
       DATED: February 29, 2024
  10
                                          By:         /s/ Jason E. Ochs
  11                                            Jason Edward Ochs
  12
                                                OCHS LAW FIRM
                                                PO Box 10944
  13                                            Jackson, WY 83002
  14
                                                T: 307.234.3239
                                                F: 307.235.6910
  15                                            Email: jason@ochslawfirm.com
  16

  17                                            Attorneys for Plaintiff
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        PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND TO SUPERIOR COURT OF SAN DIEGO,
                        CALIFORNIA; MEMORANDUM OF POINTS AND AUTHORITIES
Case 3:24-cv-00195-WQH-BLM Document 10 Filed 02/29/24 PageID.122 Page 4 of 4




   1                             CERTIFICATE OF SERVICE
   2
                                      FRCP 5(b)(2)(3)

   3      I, the undersigned, am over the age of 18 and not a party to the within action;
     my business address is: 3435 Wilshire Boulevard, Suite 1400, Los Angeles, California
   4 90010.
          .
   5      On February 29, 2024, I served the foregoing document(s) described as:
   6   PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND TO
     SUPERIOR COURT OF SAN DIEGO, CALIFORNIA; MEMORANDUM OF
   7                   POINTS AND AUTHORITIES
   8 on the interested parties in this action by electronically transmitting the foregoing
       document to persons as stated on the attached service list:
   9
       ☒      [by ECF ELECTRONIC SUBMISSION] – I served the above listed
  10
             document(s) described via the United States District Court’s Electronic
  11         Filing Program on the designated recipients via electronic transmission
  12         through the CM/ECF system on the Court’s website. The Court’s CM/ECF
             system will generate a Notice of Electronic Filing (NEF) to the filing party,
  13
             the assigned judge, and any registered users in the case. The NEF will
  14         constitute service of the document(s). Registration as a CM/ECF user
  15         constitutes consent to electronic service through the court’s transmission
             facilities.
  16

  17      I declare under penalty of perjury under the laws of the United States of
     America that the above is true and correct and that I am a member of and/or
  18
     employed in the office of a member of the this Court at whose direction the service
  19 was made.

  20
             Executed on February 29, 2024 at Los Angeles, California.
  21

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                                                     ___________________
  23                                                 Melisa Rosadini-Knott

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        PLAINTIFF’S NOTICE OF MOTION AND MOTION TO REMAND TO SUPERIOR COURT OF SAN DIEGO,
                        CALIFORNIA; MEMORANDUM OF POINTS AND AUTHORITIES
